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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                            )
In re:                                      )                   Chapter 11
                                            )
                                          1
CARBONLITE HOLDINGS LLC, et al.,            )                   Case No. 21-10527 (JTD)
                                            )
                               Debtors.     )                   (Jointly Administered)
                                            )
                                            )                   Re: Docket No. 630
BAHRAM NOUR-OMID, an individual, and        )
LEARNICON LLC, a Delaware limited liability )                   Adv. Proc. Case No. 21-50317 (JTD)
company,                                    )
                                            )                   Re: Docket No. 36
                              Plaintiffs,   )
                                            )
        v.                                  )
                                            )
CARBONLITE HOLDINGS LLC, a Delaware )
limited liability company, et al.,          )
                                            )
                            Defendants.     )

     AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING
         ON JUNE 22, 2021 AT 10:00 A.M. (PREVAILING EASTERN TIME)
                BEFORE THE HONORABLE JOHN T. DORSEY

      PLEASE TAKE NOTICE: Until further notice, all hearings scheduled before Judge
        Dorsey will be conducted entirely over Zoom. All participants are required to
         register prior to the hearing using the Zoom link provided below. You must
       register with your full name or you will not be permitted into the Zoom hearing.
       Persons without internet access may contact Chambers staff to request a toll-free
       number to appear telephonically. Please contact Chambers at least one business
                               day prior to the scheduled hearing.




1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
CarbonLite Holdings LLC (8957); CarbonLite Industries LLC (3596); CarbonLite P Holdings LLC (8957);
CarbonLite P LLC (5453); CarbonLite PI Holdings LLC (8957); CarbonLite Pinnpack LLC (8957); CarbonLite
Recycling Holdings LLC (8957); CarbonLite Sub-Holdings, LLC (8957); Pinnpack P, LLC (8322); CarbonLite
Recycling LLC (3727); and Pinnpack Packaging LLC (9948). The address of the Debtors’ corporate headquarters is
10250 Constellation Blvd., Los Angeles, CA 90067.
2
    Amended items are in bold.


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                                           Zoom link:

     https://debuscourts.zoomgov.com/meeting/register/vJItcuihrT4uGfKFEtSAs6slyPZ-
                                        qcD8T0c

RESOLVED MATTER:

1.      Motion of PNC Equipment Finance LLC for Allowance and Payment of Administrative
        Claims [Filed 5/21/21] (Docket No. 492)

        Response Deadline: June 11, 2021 at 4:00 p.m. (ET). Extended for the Debtors to June
        15, 2021 at 4:00 p.m. (ET).

        Responses Received: Informal comments from the Debtors.

        Related Documents:

             A. Certification of Counsel Regarding Stipulation for Resolution of Motion of
                PNC Equipment Finance LLC for Allowance and Payment of Administrative
                Claims [Filed 6/18/21] (Docket No. 631).

        Status: The parties have submitted a form of order resolving this motion under
        certification of counsel.

UNCONTESTED MATTER UNDER CNO:

2.      Debtors' Motion for Entry of an Order Authorizing the Debtors to File Certain Schedules
        to Asset Purchase Agreements Under Seal [Filed 6/1/21] (Docket No. 543)

        Response Deadline: June 15, 2021 at 4:00 p.m. (ET).

        Responses Received: None.

        Related Documents:

             A. Notice of Successful Bidder and Auction Results for Sale of the Assets of
                CarbonLite Industries LLC (The Riverside Facility) [Filed 5/22/21] (Docket No.
                498)

             B. Notice of Successful Bidder, Backup Bidder, and Auction Results for Sale of the
                Assets of Carbonlite Recycling LLC (the Dallas Facility) [Filed 5/26/21] (Docket
                No. 515)

             C. Notice of Successful Bidder, Backup Bidder, and Auction Results for Sale of the
                Assets of CarbonLite P, LLC (the Reading Facility) [Filed 5/26/21] (Docket No.
                517)



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             D. Certification of No Objection Regarding Debtors' Motion for Entry of an Order
                Authorizing the Debtors to File Certain Schedules to Asset Purchase Agreements
                Under Seal [Filed 6/17/21] (Docket No. 624)

        Status: A certification of no objection has been filed and counsel respectfully requests
        entry of the order at the Court’s convenience.

MATTERS GOING FORWARD:

3.      Approval of the Sale of Assets of Pinnpack Packaging LLC

        Response Deadline: June 21, 2021 at 4:00 p.m. (ET). (extended until June 21. 2021 at
        9:00 p.m. (ET) for the State of California, Department of Resources and Recovery
        Loan Program)

        Responses Received:

             A. Limited Objection of California Department of Resources Recycling and
                Recovery to Debtors' Motion For (I) An Order (A) Approving Bid Procedures For
                The Sale Of Substantially All Of The Debtors Assets; (B) Approving Procedures
                For The Assumption And Assignment Of Executory Contracts And Unexpired
                Leases; (C) Approving Certain Bid Protections In Connection With The Debtors
                Entry Into Any Potential Stalking Horse Agreements; (D) Scheduling The
                Auction And Sale Hearing; (E) Approving The Form And Manner Of Notice
                Thereof; And (F) Granting Related Relief; And (II) An Order Or Orders (A)
                Approving The Sale Of The Debtors Assets Free And Clear Of All Claims, Liens,
                And Encumbrances; And (B) Approving The Assumption And Assignment Or
                Rejection Of Executory Contracts And Unexpired Leases [Filed 4/1/21] (Docket
                No. 159)

             B. Limited Objection and Reservation of Rights of Blum & Sons Electric, Inc. and
                Anderson Systems, Inc. to Sale Motion [Filed 5/4/21] (Docket No. 402)

             C. Informal comments from the Committee

             D. Informal comments from Duris Corporation

        Cure Objections/Responses:

             A. Limited Objection and Reservation of Rights of PNC Equipment Finance, LLC to
                the Proposed Assumption and Assignment of Certain Executory Contracts and
                Proposed Cure Amounts [Filed 4/20/21] (Docket No. 313)

                 Status: This objection is moot as the lease will not be assumed and assigned.

             B. Objection of Cigna to Notice of Proposed Assumption and Assignment of
                Designated Executory Contracts and Unexpired Leases [Filed 4/26/21] (Docket
                No. 354)


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                 Status: This objection is moot as the contract will not be assumed and
                 assigned.

             C. Objection of Stonebriar Commercial Finance LLC to Notice of Proposed
                Assumption and Assignment of Designated Executory Contracts and Unexpired
                Leases [Filed 4/28/21] (Docket No. 368)

                 Status: This objection is moot as the lease will not be assumed and assigned.

             D. Objection of Duris Corporation to Notice of Proposed Assumption and
                Assignment of Designated Executory Contracts and Unexpired Leases [Filed
                4/30/21] (Docket No. 380)

             E. Objection of Nations Fund I, LLC to Debtors' Notice of Proposed Assumption
                and Assignment of Designated Executory Contracts and Unexpired Leases [Filed
                4/30/21] (Docket No. 382)

                 Status: This objection is moot as the lease will not be assumed and assigned.

             F. Limited Objection of Cool-Pak, LLC to Debtors' Proposed Assumption and
                Assignment Notices [Filed 4/30/21] (Docket No. 387)

                 Status: This objection is resolved in principle.

        Related Documents:

             A. Debtors' Motion For (I) An Order (A) Approving Bid Procedures For The Sale Of
                Substantially All Of The Debtors Assets; (B) Approving Procedures For The
                Assumption And Assignment Of Executory Contracts And Unexpired Leases; (C)
                Approving Certain Bid Protections In Connection With The Debtors Entry Into
                Any Potential Stalking Horse Agreements; (D) Scheduling The Auction And Sale
                Hearing; (E) Approving The Form And Manner Of Notice Thereof; And (F)
                Granting Related Relief; And (II) An Order Or Orders (A) Approving The Sale
                Of The Debtors Assets Free And Clear Of All Claims, Liens, And Encumbrances;
                And (B) Approving The Assumption And Assignment Or Rejection Of Executory
                Contracts And Unexpired Leases [Filed 3/18/21] (Docket No. 112)

             B. [Signed] Order (A) Approving Bid Procedures for the Sale of Substantially All of
                the Debtors' Assets; (B) Approving Procedures for the Assumption and
                Assignment of Executory Contracts and Unexpired Leases; (C) Approving
                Certain Bid Protections in Connection with the Debtors' Entry Into Any Potential
                Stalking Horse Agreements; (D) Scheduling the Auction and Sale Hearing; (E)
                Approving the Form and Manner of Notice Thereof; and (F) Granting Related
                Relief [Filed 4/9/21] (Docket No. 266)

             C. Notice of Proposed Assumption and Assignment of Designated Executory
                Contracts and Unexpired Leases [Filed 4/9/21] (Docket No. 269)


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             D. [Signed] Order Approving Stipulation Among Debtors, the Official Committee of
                Unsecured Creditors and the DIP Lenders, Extending Certain Deadlines Under
                the Bid Procedures Order [Filed 4/20/21] (Docket No. 312)

             E. First Supplemental Notice of Proposed Assumption and Assignment of
                Designated Executory Contracts and Unexpired Leases [Filed 4/21/21] (Docket
                No. 332)

             F. [Signed] Order Approving Second Stipulation Among Debtors and the DIP
                Lenders, Extending Certain Deadlines Under the Bid Procedures Order [Filed
                4/27/21] (Docket No. 357)

             G. [Signed] Order Approving Amended Third Stipulation Among Debtors and the
                DIP Lenders Extending Certain Deadlines Under the (I) TX Debtors' Final DIP
                Order; (II) PA Debtors' Final DIP Order; (III) CA Debtors' Final DIP Order; (IV)
                and Bid Procedures Order [Filed 5/4/21] (Docket No. 401)

             H. Second Supplemental Notice of Proposed Assumption and Assignment of
                Designated Executory Contracts and Unexpired Leases [Filed 5/10/21] (Docket
                No. 418)

             I. [Signed] Order Authorizing Debtors to Extend, as Necessary, Certain Deadlines
                Under the (I) Bid Procedures Order; (II) TX Debtors' Final DIP Order; (III) PA
                Debtors' Final DIP Order; and (IV) CA Debtors' Final DIP Order [Filed 5/13/21]
                (Docket No. 449)

             J. Declaration of Richard W. Morgner In Support of the Debtors' Motion For (I) An
                Order (A) Approving Bid Procedures For The Sale Of Substantially All Of The
                Debtors Assets; (B) Approving Procedures For The Assumption And Assignment
                Of Executory Contracts And Unexpired Leases; (C) Approving Certain Bid
                Protections In Connection With The Debtors Entry Into Any Potential Stalking
                Horse Agreements; (D) Scheduling The Auction And Sale Hearing; (E)
                Approving The Form And Manner Of Notice Thereof; And (F) Granting Related
                Relief; And (II) An Order Or Orders (A) Approving The Sale Of The Debtors
                Assets Free And Clear Of All Claims, Liens, And Encumbrances; And (B)
                Approving The Assumption And Assignment Or Rejection Of Executory
                Contracts And Unexpired Leases [Filed 6/2/21] (Docket No. 551)

             K. Declaration of Brian Weiss in Support of the Debtors' Motion For (I) An Order
                (A) Approving Bid Procedures For The Sale Of Substantially All Of The Debtors
                Assets; (B) Approving Procedures For The Assumption And Assignment Of
                Executory Contracts And Unexpired Leases; (C) Approving Certain Bid
                Protections In Connection With The Debtors Entry Into Any Potential Stalking
                Horse Agreements; (D) Scheduling The Auction And Sale Hearing; (E)
                Approving The Form And Manner Of Notice Thereof; And (F) Granting Related
                Relief; And (II) An Order Or Orders (A) Approving The Sale Of The Debtors
                Assets Free And Clear Of All Claims, Liens, And Encumbrances; And (B)



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                  Approving The Assumption And Assignment Or Rejection Of Executory
                  Contracts And Unexpired Leases [Filed 6/2/21] (Docket No. 552)

             L. Notice of Virtual Auction for the Sale of Assets of Pinnpack Packaging LLC
                [Filed 6/14/21] (Docket No. 612)

             M. Notice of Successful Bidder for Sale of the Assets of Pinnpack Packaging LLC
                [Filed 6/16/21] (Docket No. 616)

             N. Declaration of Brian Weiss in Support of Sale of the Assets of Pinnpack
                Packaging LLC [Filed 6/16/21] (Docket No. 617)

             O. Declaration of Richard W. Morgner in Support of Sale of the Assets of Pinnpack
                Packaging LLC [Filed 6/16/21] (Docket No. 618)

        Status: This matter will be going forward. The Debtors have filed Declarations of
        Richard Morgner of Jefferies, LLC, the Debtors’ investment banker, and Brian Weiss, of
        Force Ten LLC, the Debtors’ Chief Restructuring Officer, in support of the sale. Mr.
        Morgner and Mr. Weiss will be available should the Court or parties have any questions.


4.      Debtors' Third Omnibus Motion for Entry of an Order Authorizing the Debtors to Reject
        Certain Executory Contracts Pursuant to 11 USC § 365 Effective as of the PinnPack
        Closing Date [Filed 6/16/21] (Docket No. 619)

        Response Deadline: (Requested) June 22, 2021 at 10:00 a.m. (ET).

        Responses Received: Informal comments from Stonebriar Commercial Finance LLC

        Related Documents:

             A. Motion to Shorten Notice Period and Schedule Hearing on: (A) Debtors Motion
                for Entry of an Order Authorizing, if Necessary, (I) the Abandonment of Certain
                Equipment by PinnPack Packaging LLC and (II) Granting Related Relief, (B)
                Debtors Third Omnibus Motion for Entry of an Order Authorizing the Debtors to
                Reject Certain Executory Contracts Pursuant to 11 U.S.C § 365 Effective as of the
                PinnPack Closing Date, and (C) Debtors Motion for an Order (1) Fixing Deadline
                for Filing Certain Administrative Expense Claims, (2) Approving Form and
                Manner of Notice Thereof, and (3) Granting Related Relief [Filed 6/16/21]
                (Docket No. 622)

             B.     Certification of Counsel Regarding Stipulation for Resolution of Debtors’
                    Motion Regarding the Rejection of Stonebriar Unexpired Equipment Lease
                    [Filed 6/21/21] (Docket No. 635)




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             C.     [Signed] Order Approving Stipulation for Resolution of Debtors’ Motion
                    Regarding the Rejection of Stonebriar Unexpired Equipment Lease [Filed
                    6/21/21] (Docket No. 637)

        Status: This matter will go forward to the extent that the Court enters the order shortening
        notice on this motion. This matter will go forward to the extent not resolved by the
        Court’s Order at Docket No. 637.

5.      Debtors' Motion for Entry of an Order Authorizing, if Necessary, (I) the Abandonment of
        Certain Equipment by PinnPack Packaging LLC and (II) Granting Related Relief [Filed
        6/16/21] (Docket No. 620)

        Response Deadline: (Requested) June 22, 2021 at 10:00 a.m. (ET).

        Responses Received: None at this time.

        Related Documents:

             A. Motion to Shorten Notice Period and Schedule Hearing on: (A) Debtors Motion
                for Entry of an Order Authorizing, if Necessary, (I) the Abandonment of Certain
                Equipment by PinnPack Packaging LLC and (II) Granting Related Relief, (B)
                Debtors Third Omnibus Motion for Entry of an Order Authorizing the Debtors to
                Reject Certain Executory Contracts Pursuant to 11 U.S.C § 365 Effective as of the
                PinnPack Closing Date, and (C) Debtors Motion for an Order (1) Fixing Deadline
                for Filing Certain Administrative Expense Claims, (2) Approving Form and
                Manner of Notice Thereof, and (3) Granting Related Relief [Filed 6/16/21]
                (Docket No. 622)

        Status: This matter will go forward to the extent that the Court enters the order shortening
        notice on this motion.

6.      Debtors' Motion for an Order (1) Fixing Deadline for Filing Certain Administrative
        Expense Claims, (2) Approving Form and Manner of Notice Thereof, and (3) Granting
        Related Relief [Filed 6/16/21] (Docket No. 621)

        Response Deadline: (Requested) June 22, 2021 at 10:00 a.m. (ET).

        Responses Received:

        A. Informal comments from the United States Trustee

        Related Documents:

             A. Motion to Shorten Notice Period and Schedule Hearing on: (A) Debtors Motion
                for Entry of an Order Authorizing, if Necessary, (I) the Abandonment of Certain
                Equipment by PinnPack Packaging LLC and (II) Granting Related Relief, (B)
                Debtors Third Omnibus Motion for Entry of an Order Authorizing the Debtors to


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                 Reject Certain Executory Contracts Pursuant to 11 U.S.C § 365 Effective as of the
                 PinnPack Closing Date, and (C) Debtors Motion for an Order (1) Fixing Deadline
                 for Filing Certain Administrative Expense Claims, (2) Approving Form and
                 Manner of Notice Thereof, and (3) Granting Related Relief [Filed 6/16/21]
                 (Docket No. 622)

        Status: This matter will go forward to the extent that the Court enters the order shortening
        notice on this motion.

7.      Debtors' Motion for Authorization to Expand the Retention and Employment of Reed
        Smith LLP as Special Counsel to Include Representation of Certain Board Member
        Defendants in Litigation, Nunc Pro Tunc to May 16, 2021 [Filed 5/25/21] (Docket No.
        507)

        Response Deadline: June 8, 2021 at 4:00 p.m. (ET).

        Responses Received:

             A. Informal comments from the United States Trustee

             B. Objection of Learnicon LLC and Bahram Nour-Omid to Debtors Motion for
                Authorization to Expand the Retention and Employment of Reed Smith LLP as
                Special Counsel to Include Representation of Certain Board Member Defendants
                in Litigation, Nunc Pro Tunc to May 16, 2021 [Filed 6/8/21] (Docket No. 594)

                             i. Exhibit B to the Declaration of Bahram Nour-Omid in Support of
                                Objection of Learnicon LLC and Bahram Nour-Omid to Debtors
                                Motion for Authorization to Expand the Retention and Employment of
                                Reed Smith LLP as Special Counsel to Include Representation of
                                Certain Board Member Defendants in Litigation, Nunc Pro Tunc to
                                May 16, 2021 [Filed 6/8/21] (SEALED, Docket No. 595)

        Reply Deadline: June 17, 2021 at 4:00 p.m. (ET).

        Replies:

             A. Director Defendants’ Reply in Support of Debtors' Motion for Authorization to
                Expand the Retention and Employment of Reed Smith LLP as Special Counsel to
                Include Representation of Certain Board Member Defendants in Litigation, Nunc
                Pro Tunc to May 16, 2021 Filed by Faramarz Yousefzadeh, Kim Jeffery [Filed
                6/17/21] (Docket No. 625)

                             i. Declaration of Moshe J. Kupietzky, Esquire, in Support of Director
                                Defendants' Reply in Support of Debtors' Motion for Authorization to
                                Expand the Retention and Employment of Reed Smith LLP as Special
                                Counsel to Include Representation of Certain Board Member



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                             Defendants in Litigation, Nunc Pro Tunc to May 16, 2021 [Filed
                             6/17/21] (Docket No. 627)

             B. Debtors’ Reply in Support of Debtors' Motion for Authorization to Expand the
                Retention and Employment of Reed Smith LLP as Special Counsel to Include
                Representation of Certain Board Member Defendants in Litigation, Nunc Pro
                Tunc to May 16, 2021 [Filed 6/17/21] (Docket No. 626)

        Witness and Exhibit Lists:

             A. Debtors’ and Director Defendants’ Joint Witness and Exhibit Lists for the
                Hearing on the Debtors’ Motion for Authorization to Expand the Retention
                and Employment of Reed Smith LLP as Special Counsel to Include
                Representation for Certain Board Member Defendants in Litigation, Nunc
                Pro Tunc to May 16, 2021 [Filed 6/21/21] (Docket No. 632)

             B. Learnicon LLC and Bahram Nour-Omid’s Witness and Exhibit List for the
                Hearing on Debtors’ Motion for Authorization to Expand the Retention and
                Employment of Reed Smith LLP as Special Counsel to Include
                Representation for Certain Board Member Defendants in Litigation, Nunc
                Pro Tunc to May 16, 2021 [Filed 6/21/21] (Docket No. 636)

        Status: This matter will be going forward. A declaration in support of the motion was
        filed by Moshe J. Kupietzky, Esquire, of Reed Smith LLP, who will be available should
        the Court or parties have any questions. A declaration in opposition to the motion was
        filed by Bahram Nour-Omid, who will be available should the Court or parties have any
        questions.

8.      Learnicon LLC and Bahram Nour-Omid's Motion for Entry of an Order Authorizing the
        Filing Under Seal of Confidential Board Meeting Minutes [Filed 6/11/21] (Docket No.
        608)

        Response Deadline: At the hearing.

        Responses Received: None at this time.

        Related Documents:

            A. Exhibit B to the Declaration of Bahram Nour-Omid in Support of Objection of
               Learnicon LLC and Bahram Nour-Omid to Debtors Motion for Authorization to
               Expand the Retention and Employment of Reed Smith LLP as Special Counsel to
               Include Representation of Certain Board Member Defendants in Litigation, Nunc
               Pro Tunc to May 16, 2021 [Filed 6/8/21] (SEALED, Docket No. 595)

        Status: This matter will be going forward.




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STATUS CONFERENCE:

9.      Bahram Nour-Omid et al. v. CarbonLite Holdings LLC, et al., Adv. Proc. No. 21-50317

        Response Deadline: May 26, 2021



        Responses Received:

             A. Orion Energy Credit Opportunities Fund II GPFA, L.P., Orion Energy Credit
                Opportunities Fund II PV, L.P., Orion Energy Credit Opportunities Fund II, L.P.’s
                Motion to Dismiss the Complaint [Filed 5/21/21] (Adv. Docket No. 5)

             B. Memorandum of Law in Support of Motion to Dismiss the Complaint [Filed
                5/21/21] (Adv. Docket No. 6)

             C. Declaration of Mateo de la Torre in Support of Motion to Dismiss the Complaint
                [Filed 5/21/21] (Adv. Docket No. 7)

             D. Motion of Debtor Carbonlite Holdings LLC to Dismiss Complaint or,
                Alternatively, to Stay This Litigation as to All Parties [Filed 5/26/21] (Adv.
                Docket No. 10)

             E. Memorandum of Law in Support of Motion of Debtor Carbonlite Holdings LLC
                to Dismiss Complaint or, Alternatively, to Stay This Litigation as to All Parties
                [Filed 5/26/21] (Adv. Docket No. 11)

             F. Motion of Director Defendants Kim Jeffery and Faramarz Yousefzadeh to
                Dismiss Complaint or, Alternatively, to Stay This Litigation as to All Parties
                [Filed 5/26/21] (Adv. Docket No. 12)

             G. Opening Brief in Support of Motion of Director Defendants Kim Jeffery and
                Faramarz Yousefzadeh to Dismiss Complaint or, Alternatively, to Stay This
                Litigation as to All Parties [Filed 5/26/21] (Adv. Docket No. 13)

             H. Motion of LF Investment Holdings, LLC and Leon Farahnik to Dismiss
                Complaint or, Alternatively, to Stay this Action [Filed 5/26/21] (Adv. Docket No.
                14)

             I. Declaration of Kathleen M. Miller in Support of Motion of LF Investment
                Holdings, LLC and Leon Farahnik to Dismiss Complaint or, Alternatively, to Stay
                this Action [Filed 5/26/21] (Adv. Docket No. 15)




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             J. Joinder to the Motions to Dismiss the Complaint filed by the Other Defendants
                and/or Alternatively, to Stay this Litigation as to All Parties Filed by Force Ten
                Partners, LLC, Brian Weiss [Filed 6/4/21] (Adv. Docket No. 22)

             K. Supplemental Motion of Debtor Carbonlite Holdings LLC to Dismiss First
                Amended Complaint or, Alternatively, to Stay This Litigation as to All Parties
                [Filed 6/15/21] (Adv. Docket No. 30)

             L. Supplemental Motion of Director Defendants Kim Jeffery and Faramarz
                Yousefzadeh to Dismiss Complaint or, Alternatively, to Stay This Litigation as to
                All Parties [Filed 6/17/21] (Adv. Docket No. 34)

             M. Supplemental Opening Brief in Support of Motion of Director Defendants Kim
                Jeffery and Faramarz Yousefzadeh to Dismiss Complaint or, Alternatively, to
                Stay This Litigation as to All Parties [Filed 6/17/21] (Adv. Docket No. 35)

        Related Documents:

             A. Complaint [Filed 4/12/21] (Adv. Docket No. 1)

             B. Summons and Notice of Pretrial Conference [Filed 4/26/21] (Adv. Docket No. 3)

             C. Notice of Rescheduled Pretrial Conference [Filed 5/27/21] (Adv. Docket No. 16)

             D. [Signed] Order Approving Stipulation Extending Briefing Schedule [Filed 6/4/21]
                (Adv. Docket No. 23)

             E. First Amended Complaint [Filed 6/9/21] (Adv. Docket No. 24)

             F. Notice of Status Conference [Filed 6/15/21] (Adv. Docket No. 29)




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        Status: A status conference on this matter will be going forward.

Dated: June 21, 2021                         PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ James E. O’Neill
                                             Richard M. Pachulski (CA Bar No. 90073)
                                             Gabriel I. Glazer (CA Bar No. 246384)
                                             James E. O'Neill (DE Bar No. 4042)
                                             Steven W. Golden (NY Bar No. 5374152)
                                             919 N. Market Street, 17th Floor
                                             P.O. Box 8705
                                             Wilmington, DE 19899 (Courier 19801)
                                             Tel: (302) 652-4100
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                                                    joneill@pszjlaw.com
                                                    sgolden@pszjlaw.com

                                             Attorneys for Debtors and Debtors in Possession




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